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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

RONALD WRIGHT,                        )
                                      )
            Plaintiff,                )        CIVIL ACTION FILE NO.:
                                      )        ______________________
      v.                              )
                                      )
SANCHEZ ARREDONDO and                 )
COBRA CARRIER, LLC,                   )
                                      )
            Defendants.               )

                          PETITION FOR REMOVAL

TO: The Judges of the United States District Court, Northern District of Georgia

      The Notice of Removal of Defendants Sanchez Arredondo and Cobra

Carrier, LLC respectfully shows the Court as follows:

                                          1.

      A civil action has been brought against Defendants Sanchez Arredondo and

Cobra Carrier, LLC (“Defendants”) in the State Court of Clayton County, State of

Georgia, by the above-named Plaintiff, said action being designated as Civil

Action No. 2023CV00526. Plaintiff Ronald Wright seeks special damages for past

and future medical expenses, lost wages, and general damages for pain and

suffering. The Plaintiff also seeks statutory attorneys’ fees pursuant to O.C.G.A. §

13-6-11 and punitive damages.
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                                        2.

      The Plaintiffs’ Complaint was filed on March 3, 2023, with an Amended

Complaint, correcting the name of the individual defendant, was filed on April 14,

2023. Defendants were served, by Acknowledgment of Service on April 24, 2023.

At the time the Complaint was filed and served upon Defendants, this case was not

removable to this Court because on the face of the Complaint, Plaintiff did not seek

damages in excess of $75,000, exclusive of costs and interests.

                                        3.

      Defendants answered the Complaint and the parties began discovery. The

discovery period expires on November 18, 2023.

                                        4.

      From Plaintiff’s responses to Defendants’ discovery requests that were

served on and received by Defendants on June 19, 2023, Defendants received

written paper wherein Plaintiff’s alleged injuries include lower/upper neck pain,

lower back pain and headaches. (See Exhibit A).

                                        5.

      A few days after receiving the discovery responses, on June 21, 2023,

Plaintiff’s also made a settlement demand for $1,000,000.00 in this case. (See

Exhibit B). A post-suit demand is considered papers to determine the amount in

controversy.
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                                         6.

      A renewed demand, also for $1,000,000.00 was sent on July 17, 2023 which

contained additional medical expenses totaling $39,410.00. (See Exhibit C). In that

demand plaintiff notes that he suffered from a concussion. In addition to

complaints of neck and back pain, Plaintiff is claiming a traumatic brain injury

with headaches, nausea, depression, anxiety, fatigue, and blurry vision. (Id.).

Plaintiff has further stated that the traumatic brain injury has “significant, long-

term implications.”

                                        6.

      In addition to the claims for a traumatic brain injury and medical expenses in

the amount of $39,410.00, Plaintiff has also pled a cause of action for punitive

damages. “When determining the jurisdictional amount in controversy in diversity

cases, punitive damages must be considered unless it is apparent to a legal

certainty that such cannot be recovered.” Holley Equip. Co. v. Credit Alliance

Corp., 821 F.2d 1531, 1535 (11th Cir. 1987).

                                        7.

      Based on Plaintiff’s alleged injuries, claim for medical expenses

($39,410.00), claim of a traumatic brain injury, claim for unspecified future

medical expenses, claim for punitive damages, and claim for unspecified general
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damages, Defendants submit that the amount in controversy in the within action is

in excess of the jurisdictional amount of $75,000.

                                         8.

      Now within thirty (30) days after receipt of Plaintiff’s discovery responses,

Defendants remove this case to this court pursuant to 28 U.S.C. § 1446(b) which

permits a case to be removed if the case stated by the initial pleading is not

removable, but the Defendant later receives other paper (which includes post suit

demands) from which it can be ascertained that the case is one which has become

removable, then the Defendant may remove the case to federal court on the basis of

diversity jurisdiction provided by 28 U.S.C. § 1332, so long as not more than one-

year has expired since the case was commenced on March 3, 2023.

                                         9.

      This action could have originally been brought in this Court under 28 U.S.C.

§ 1332, in that it is a civil action wherein the amount in controversy exceeds

seventy-five thousand dollars ($75,000), exclusive of interest and cost, and there is

diversity of citizenship between the parties. As between the parties, there exists

complete diversity of citizenship.

                                        10.

       The Plaintiff is now, was at the time of the commencement of this action,

and at all times since has been a citizen and resident of the State of Georgia.
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                                         11.

      Defendant Cobra Carrier, LLC is an LLC and its sole member is Anastacio

Sanchez Arredondo. Anastacio Sanchez Arredondo is a citizen and resident of

Alamo, Texas. (See Exhibit D, Certificate of Formation of Limited Liability

Company).

                                         12.

      Defendant Sanchez Arredondo is now, was at the commencement of this

action, and at all times since has been a citizen and resident of the State of Texas.

                                         13.

      Defendants attach a copy of the Summons and Complaint, marked Exhibit

“E,” a copy of the Amended Complaint, market as Exhibit “F” a copy of the

Answer of Defendant Cobra Carrier, LLC, marked as Exhibit “G,” a copy of the

Answer of Defendant Sanchez, marked as Exhibit “H” and Exhibits I through Q,

all other pleadings filed in the State Court of Clayton County, Georgia.

                                         14.

      This action is removable by reason of diversity of citizenship, there being

more than $75,000.00 in controversy, exclusive of interest and costs between

Plaintiff and Defendants Eusebio Sanchez and Cobra Carrier, LLC along with the

case being removed within thirty (30) days of it first being ascertained that it is

removable and within one year from the case being initiated.
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      WHEREFORE, Defendants Sanchez Arredondo and Cobra Carrier, LLC file

this Notice of Removal of said case to this Court.

      Respectfully submitted, this 19th of July, 2023.


                                          FAIN, MAJOR & BRENNAN, P.C.

                                          /s/ Robyn M. Roth

One Premier Plaza                         ROBYN M. ROTH
5605 Glenridge Drive NE                   Georgia Bar No. 153025
Suite 900                                 Counsel for Defendants
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 CERTIFICATE OF COMPLIANCE WITH N.D.GA. LOCAL RULE 5.1B

      This is to certify that this pleading was created in Times New Roman 14-

point font in accordance with Northern District of Georgia Local Rule 5.1B.

      This 19th day of July, 2023.


                                         FAIN, MAJOR & BRENNAN, P.C.

                                         /s/ Robyn M. Roth

One Premier Plaza                        ROBYN M. ROTH
5605 Glenridge Drive NE                  Georgia Bar No. 153025
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              FOR THE NORTHERN DISTRICT OF GEORGIA
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RONALD WRIGHT,                        )
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             Plaintiff,               )      CIVIL ACTION FILE NO.:
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      v.                              )
                                      )
SANCHEZ ARREDONDO and                 )
COBRA CARRIER, LLC,                   )
                                      )
             Defendants.              )

                           CERTIFICATE OF SERVICE

      This is to certify that I have this day served the foregoing Petition for

Removal with the Clerk of Court using CM/ECF which will automatically send

e-mail notification of such filing to all parties of record and/or by depositing a

copy of same with the United States Postal Service, with first class postage

prepaid, as follows:

                               Edward Hardrick, Esq.
                             Morgan & Morgan, PLLC
                            178 S. Main Street, Unit 300
                               Alpharetta, GA 30009
                            ehardrick@forthepeople.com

      Respectfully submitted, this 19th of July, 2023.

                                          FAIN, MAJOR & BRENNAN, P.C.

                                          /s/ Robyn M. Roth

One Premier Plaza                         ROBYN M. ROTH
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